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PRIVILEGED AND CONFIDENTIAL “ATTORNEY WORK PRODUCT

AFFIDAVIT OF TIMOTHY LONGMAN
Country Expert on Rwanda

Qualifications

1. My name is Timothy Longman. I am a professor and expert on human rights and politics
in Aftica, with a focus on Central Africa, and particularly Rwanda. I am currently Director
of CURA, the Institute on Culture, Religion, and World Affairs and Associate Professor of
Political Science at Boston University, where I served as director of the African Studies
Center from 2009 until earlier this year. From 1996 to 2009, I served as an Assistant then
Associate Professor at Vassar College. I also served as Chair of the Political Science
Department and Director of the Africana Studies program at Vassar College. I have also
taught at Columbia University in New York; the University of the Witwatersrand in
Johannesburg, South Africa; the National University of Rwanda in Butare; and Drake
University in Des Moines, Iowa. My research and writing address a range of topics
including, ethnicity and politics, state-society relations, and genocide and human rights in
Africa. In addition, I periodically serve as a consultant to Human Rights Watch, the
International Center for Tiansitional Justice, USAID, and the U.S. Department of State in
Rwanda, Burundi, Congo, and Uganda. Rwanda is a major focus of my research.

2. I have spent a significant amount of time in Rwanda. | lived in the country from 1992-1993
while researching my dissertation on religion and politics. I again lived in Rwanda from
1995-1996, when I was the director of the Human Rights Watch (HRW) and International
Federation of Human Rights Leagues (FIDH) field office in the country. Since then, I have
returned to Rwanda to conduct research and participate in consultancies at least a dozen
times. From 2001-2006, I was the director of Rwandan research at the Human Rights
Center at the University of California, Berkeley. I have also served as a consultant in
Rwanda for USAID and the State Department, the International Center for Transitional
Justice, and the US Department of Justice. Based on my knowledge of Rwanda and of the
1994 genocide, I have served as an expert witness for the prosecution in cases related to
the Rwandan genocide in the US, Canada, Sweden, and Finland, and I have testified in the
International Criminal Tribunal for Rwanda in Arusha, Tanzania. I have also testified in a
case in the United Kingdom opposing extradition of Rwanda nationals because of my belief
that they could not receive a fair trail in Rwanda.

3. Ihave spent most of my time in Rwanda based in the City of Butare. In 1992-1993, [taught
at the Protestant School of Theology in Butare, then after the genocide in 1995-1996, the
HRW and FIDH office that I led was also in Butare. A major part of my work for HRW
and FIDH involved researching the genocide in the Province of Butare, including the City
of Butare. I helped to draft the report Leave None fo Teil the Story, published by HRW and
FIDH.in 1999, winner of the Raphael Lemkin Prize and recognized as the definitive study
ofthe genocide; much of this book-length report focuses on Butare. My 2001-2006 project
was conducted in partnership with the Center for Conflict Management at the National
University of Rwanda, where I also taught a course in conflict resolution. The commune
that Butare lies in was one of the three case study communities that I researched for my
book on post-genocide Rwanda. Based upon my deep knowledge of Butare, I have been
called to testify in several cases focused on Butare, including the US vs. Munyenyezi and

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the US-vs: Kantengwa and in Canada for the Crown vs. Halindintwali. In addition, to my
knowledge of Rwanda, I have conducted extensive research in the Democratic Republic of
Congo, including in the East of the country. In 1997, I published “Attacked by All Sides,”
a report for Human Rights Watch about attacks on the Rwandan refugee camps in Congo.

4, My book Memory and Justice in Post-Genocide Rwanda was just published in 2017 by
Cambridge University Press and is based on research I conducted in Rwanda between 2001
and 2006 and additional research conducted in Rwanda in 2015. My first book, Christianity
and Genocide in Rwanda, was published by Cambridge University Press in 2009. I have
also published numerous book chapters and articles on Rwanda, Burundi, and Congo in
journals such as African Studies Review, Journal of the American Medical Association,
Comparative Education Review, Journal of Religion in Africa, and Journal of Genocide
Research. Among many other subjects, I have authored articles on the post genocide legal
system in Rwanda; democracy and governance; Hutu/Tutsi national, racial and class
distinctions; PTSD and reconciliation of post genocide Rwandans; and the role of the state
in fomenting genocide. For further information on my experience and credentials, please
refer to my C.V., which is attached.

Expert opinion

3. Lhave reviewed Mr. Jean Teganya’s draft affidavit in support of his asylum application
and his factual claims include multiple factors, any one of which alone could result in
serious harm, or even death. It is my understanding from the facts as stated in Mr.
Teganya’s affidavit that his mother is Tutsi and his father is Hutu. Inter-ethnic marriages
were common in Rwanda prior to 1994, and children took the ethnicity of their fathers.
Nevertheless, the children of mixed marriages were often viewed with suspicion by Hutu
ethno-nationalists who believed that their ethnic loyalties might be divided.

6. During the Rwandan genocide, Mr. Teganya reports that he was a medical student
working at the University Hospital in Butare. Specifically, Mr. Teganya was at this
hospital from early April until around the middle of June in 1994, As Mr. Teganya
explained in his affidavit, because it was a stronghold of the opposition, Butare was
initially insulated from the violence that spread across Rwanda after a plane carrying the
presidents of Rwanda and Burundi was shot down on April 6, 1994. Many Tutsi fled to
Butare from other parts of the country, believing that they would be safe there. Some who
were injured sought care at the University Hospital.

7. As Mr. Teganya explains, a couple of weeks after the beginning of the genocide, the then
President of Rwanda, Théodore Sindikubwabo, arrived in Butare and delivered a speech
that encouraged violence in Butare Province. Subsequently, both military and militia
groups attacked civilians in the city of Butare. The attacks began in Butare on April 19.
While many Tutsi and moderate Hutu were killed in these attacks, some who survived

.... were taken to the University Hospital for treatment. According to Mr. Teganya’s
statement, he assisted with providing medical treatment at Butare University Hospital to
those injured during the genocide. The hospital was over capacity as both the injured and
others seeking refuge came to the hospital.

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8 As we describe in Leave None to Tell the Story (p. 374), the University Hospital was
itself attacked on the night of April 22, and additional attacks occurred the following day.
Tn these attacks, patients identified as Tutsi, as well as some Tutsi and a few moderate
Hutu staff, were singled out and killed, Despite these killings and despite the impact of
the loss of staff, the hospital continued to function. According to his statement, Mr.
Teganya remained at the hospital and continued to provide medical treatment to both
Hutu and Tutsi even after these initial attacks. Patients at the hospital included both Tutsi
injured in the genocide and Hutu soldiers injured in the ongoing war with the RPF.
Despite Tutsi patients having been killed at the hospital previously, some continued to
arrive seeking assistance. Mr. Teganya’s claim that the hospital was overwhelmed with
patients is consistent with what I know to have happened during the genocide period.

9. Mr. Teganya reports that after he helped two Tutsi friends, Hutu militiamen physically
attacked him and his two friends. The attackers disbanded when an armed hospital
“safety soldier” arrived. This story is consistent with many other accounts that I have
heard of Hutu who protected Tutsi and were themselves punished. It is important to
realize that even though the genocide targeted Tutsi, they were not always killed
immediately even when they were discovered, as appears to have been the case with Mr.
Teganya’s friends. Mr. Teganya reports that he eventually fled Rwanda in mid-June
1994,

10. I think it important to point out that although the genocide was highly disruptive to daily
life, life in Rwanda continued, and most Rwandans did not actively support the genocide.
As we discuss in Leave None to Tell the Story, the most extensive killings happened in
Butare April 19 through 22, 1994, but beginning on April 23, the local government made
a concerted effort to return life to normal — at least as normal as was possible given the
many people killed, the war that had broken out in the north and east of the country, and
the ongoing disruptions of attempts to ferret out surviving Tutsi. Most Hutu stayed put in
Rwanda until the RPF army approached their communities, at which time they fled en
masse. In fact, it was difficult for people to leave before then because of the numerous
roadblocks that had been erected along all major routes in the country. Even if someone
had an LD. card that identified them as Hutu, the fact that they were seeking to flee made
them suspect, particularly if they looked Tutsi. It was believed that many Tutsi has
falsified documents that identified them as Hutu. Many, many people were killed at
roadblocks as they tried to move through the country, particularly as they approached
national borders. I am thus not at all surprised that Mr. Teganya stayed in Butare until the
day that the RPF approached and the vast majority of the population fled.

11. Based on my knowledge of human rights and politics in Rwanda and the facts that I know
about this case, I believe that Mr. Teganya, faces a real threat to his life if forced to return
to Rwanda. I believe that he would be subject fo serious harm, violence, and even death
because of his presumed complicity or involvement in the genocide, merely by virtue of
the fact that he was a medical student during the genocide.

Ethnic Politics and Events Leading to the Genocide

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12, Mr. Teganya’s personal account as a Rwandan who lived through the 1994 genocide is

13.

consistent with what I understand of the realities of Rwanda’s complex ethnic politics and
history. The two major ethnic groups in Rwanda, the Hutu and the Tutsi, have experienced
periodic waves of ethnic violence since 1959. During the colonial period, Tutsi dominated.
politics, society, and the economy, but after a 1959 uprising, Hutu assumed power and
Tutsi became a persecuted minority. Anti-Tutsi violence occurred from 1959 to 1963, and
in 1973, leading many Tutsi to flee the country.

Consistent with Mr. Teganya’s account, in 1990, ethnic tensions re-emerged in Rwanda. A
pro-democracy movement began to challenge the dominance of the single-party
government, and the Hutu-led government blamed the Tutsi minority for the government’s
diminishing popularity. In October 1990, the Rwandan Patriotic Front (RPF), a rebel group
comprised primarily of Tutsi refugees who had fled Rwanda’s ethnic violence in the 1960s
and 1970s, invaded Rwanda demanding the right of refugees to return and democratic
governance, adding to ethnic tensions in the country. After the assassination of President
Juvenal Habyarimana on April 6, 1994, extremists in the government launched a genocide
that targeted those whom they saw as threatening their authority, primarily Tutsi and
politicatly-moderate Hutu tolerant of the Tutsi minority, whom they accused of being
sympathizers with the RPF. From April to July 1994, the perpetrators slaughtered as many
as one million Tutsi civilians in the course of three months to establish “Hutu power.” Mr.
Teganya’s mother and sister were forced to flee Rwanda, and his brother Jean Paul Ishimwe
has been missing since 1996. Several uncles were also killed in the genocide.

Post-Genocide Rwandan Reconstruction

14. The genocide ended in July 1994, when the RPF took control of the country, transferring

15.

power from an entirely Hutu government to a Tutsi-dominated regime. After taking power,
the RPF initially engaged in violent retribution against the perpetrators of the genocide, but
quickly shifted to holding perpetrators legally accountable, in an ostensible effort to heal
the country (although its soldiers continued fo engage in extensive human rights
violations).

Within a three-year period after the genocide, 140,000 people were arrested in Rwanda for
acts committed during the genocide. However, prison conditions quickly deteriorated, and
because Rwanda’s judicial system was devastated by the genocide, far more people were
arrested than could be held in prison and tried in court. By some estimates, it would have
taken a century to give every detainee a day in court. Imprisoning tens of thousands of
people without trial, for many years, and in deplorable conditions, carried the potential to
threaten the government’s legitimacy.

The FDER in Congo

16.

When the RPF took control of Rwanda in July 1994, many members of the former
government and much of the army fled into neighboring Congo (then called Zaire). They
were joined by hundreds of thousands of Rwandan civilians, who settled in refugee camps
along the border. Despite provisions in international refugee law that prohibit armed groups
from staying in refugee camps, in Congo the former regime and former armed forces used

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the refugee camps as bases to plot a return to power in Rwanda and to launch raids across
the border, They also continued to persecute people living in the refugee camps. Mr.
Teganya’s claims that he was threatened in the camps because of his apparent sympathies
for Tutsi and his mixed heritage is consistent with what I know about conduct in these

camps.

17. Presence in the refugee camps in Congo should not be understood as either support for or
complicity in the genocide. The majority of people in the camps were legitimate refugees
who had a justified fear of persecution at the hand of the new RPF-installed government
in Rwanda. People feared that if they returned to Rwanda they would be killed, and in
fact some who did were in fact killed. The actual level of threat, however, was often
exaggerated by former political leaders and genocide organizers present in the camps
who wanted to maintain public support, so more people stayed in the camps rather than
returning home than might otherwise have been the case. In addition, the organizers of
the genocide threatened people who sought to return to Rwanda. If they found out that an
individual was planning to return to Rwanda, that individual could be beaten or even

killed,

18. When the RPF attacked and closed the refugee camps in 1996, many civilians returned to
Rwanda, but many others fled further into Congo. Much of the armed forces fled into the
bush, where they reconstituted themselves into a rebel force the Democratic Forces for the
Liberation of Rwanda (FDLR). The FDLR became involved in ongoing violence in Eastern
Congo, fighting against Rwandan forces but also the new Congolese government and also
targeting many civilians, particularly Congolese Tutsi.

19. Paul Rwarakabije became the leader of the FDLR. During Congo’s two civil wars, FDOLR
forces commonly clashed with RPF forces. However, in the late 1990s and early 2000s,
the RPF-led government of Rwanda sought to reconcile with the FDLR and encouraged
the return of FDLR rebels to Rwanda. After lengthy negotiations, Paul Rwarakabije led a
group of FDLR officers who formally surrendered to the Rwandan military and returned
to Rwanda in 2003. While those accused of involvement in the genocide had to face
judgment, others involved only in the FDLR rebellion were offered amnesty.

Reconciliation, Multi-Ethnic Government and the Gacaca Courts

20. As | have written about at great length in my book Memory and Justice in Post-Genocide
Rwanda, Rwanda today is a dictatorship. Although the government under the RPF and its
leader President Paul Kagame is quite efficient and effective, winning considerable praise
for promoting economic development, the regime has used extensive force to gain and keep
power, The RPF rules the Rwandan state with a very heavy hand. Elections are held
regulatly, but most opposition candidates are prevented from running and the few who are
allowed to contend are severely limited in their activities. Opposition politicians,
independent journalists, and human rights activists have been regularly arrested, and a
number have been murdered, including an opposition activist murder this May.

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21. In this highly authoritarian context, courts have been used regularly as a tool to establish
the authority of the state. The Rwandan government began to try people accused of the
genocide in 1996, and over the past 20 years, many perpetrators have been tried and found
guilty. At the same time, many innocent people have also been convicted. Charging people
with complicity in the genocide has been an effective means of eliminating critics of the
regime from public life and discouraging other people from speaking out. In 2001, the
Rwandan parliament adopted a law against the vaguely defined crime of “divisionism,”
and in 2008, parliament adopted a law against “genocide ideology.” These two laws have
been used extensively against critics of the current regime, conflating honest criticism of
the current government with support for genocide. The threat of being charged with
divisionism or genocide ideology or of being charged falsely with participation in the
genocide is used effectively to silence most potential opponents of the regime.

22. In the late 1990s, as part of the government’s efforts to broaden its support, a proposal
emerged to adapt Rwanda’s historic method of conflict resolution known as gacaca to
prosecute genocide crimes. Gacaca historically referred to a Rwandan institution in which
respected elders sat on the village lawn and arbitrated disputes between members of the
community. Given the huge number of languishing prisoners, the RPF suggested that a
system of popular justice loosely modeled on gacaca was the country’s only chance to
deliver justice and heal. Unlike the traditional, informal community institution, the modern
gacaca courts were created by the central government. The rules were codified, and their
actions were regulated by the government. But the laws of gacaca were constantly
changing and shifting as the government repeatedly amended them.

23. As part of the modern gacaca system, communities elected as judges people of integrity
who were not professional jurists. Following the election of gacaca judges, the trials
proceeded in two stages: the first was an information-gathering phase, and the second phase
involved the trials themselves. By July 2006, the trial phase was fully underway in most
communities in the country, and trials were held every week. Gacaca trials continued until
2012,

24. The gacaca system involved virtually every resident of Rwanda. At first, potential
witnesses would learn by word of mouth that a certain person was going to be tried and
would volunteer to testify for or against that person. Over time, the government grew
concerned with attendance, and the gacaca experience became compulsory, and everyone
was expected to attend the trials.

25. The success of the gacaca court model was uneven throughout the country and many
people were against the gacaca process as a result. Many Tutsi felt the process did not
bring them justice, and despite strong evidence, perpetrators of the genocide were at times
acquitted, particularly if they were wealthy and influential. At the same time, thousands of
innocent people were also falsely charged in gacaca trials, and many of them were found
guilty and imprisoned. False accusations were used by many people to extract revenge on
enemies, to extort bribes, or to eliminate rivals. The gacaca process also became
politicized, as the government used gacaca to punish people they viewed as political
opponents. The laws governing gacaca prohibited the accused from using lawyers to
support their defense. There was no rule against double jeopardy, and therefore it was

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possible to be tried more than once. In addition, many people were convicted simply
because of their associations with genocide killings, because were present was someone
was killed or simply because they worked or lived near where people were killed, even if
they had nothing to do with it themselves.

While gacaca tried nearly 2 million cases involving over 1 million accused, the most
serious cases continued to be argued in regular courts, and these also suffered from the
same problems of corruption and politicization. With the completion of gacaca in 2012,
new genocide cases are now tried in the regular courts. The failings of Rwanda’s courts,
including the gacaca courts, is a major theme of my recently published book, Memory and
Justice in Post-Genocide Rwanda.

Should Mr. Teganya be returned to Rwanda, I do not believe that he could receive a fair
trial there for several reasons. First, because of publicity surrounding his case, the
government would have an interest in seeing that he be convicted. It is clear to me that
genocide trials in Rwanda are particularly politicized for individuals whose cases are
prominent. Second, because many people were killed at the University Hospital, Mr.
Teganya will be presumed guilty by association. Third, conceptions of guilt in Rwanda are
not individualized as they are in the West. Because Mr. Teganya’s father was convicted on
genocide crimes, he will be himself viewed as complicit. Finally, Mr. Teganya’s mixed
ethnic heritage makes him suspect even in post-genocide Rwanda, where ethnic
identification is explicitly banned. Having a Tutsi mother but a father who was found to be
involved in the genocide would make many Rwandans assume that he was involved in the
genocide to protect himself.

Finally, the fact that Mr. Teganya has stayed outside of Rwanda since 1994 and has resisted
return fo Rwanda makes him a target for persecution should he return for Rwanda. Since
the RPF closed the refugee camps in the Democratic Republic of Congo in 1996 and
ordered all Rwandans fo return to their country, they have unfairly treated the refusal of
any Rwandans to return home as an admission of genocide guilt. The Government of
Rwanda assumes that individuals do not want to return home because they are afraid of
being held accountable for participation in the genocide. Yet in fact many Rwandans have
chosen never to return to Rwanda or have fled the country since 1994 because of justifiable
fear of unjust imprisonment, torture, or death. This fact has been recognized in nume rous
cases of Rwandans granted asylum in the US. In my informed opinion, Mr. Teganya cannot
receive a fair trial in Rwanda in part because his choice to stay out of Rwanda so long will
be read as prima facie evidence of his guilt.

Conclusion

29.

Mr. Teganya would be in real danger if forced to return to Rwanda. Because he was a
medical student at Butare Hospital during part of the genocide and because of his father’s
conviction in the gacaca court, the Rwandan government will consider him a genocide
accomplice and will seek to convict and punish him. Because he has been outside of
Rwanda for so long and because his case has received considerable international
attention, he will be denied the opportunity for a fair trial.

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30. Given the violent attack Mr. Teganya suffered in the past as a punishment for helping
Tutsi friends, and the hostility of the Kagame government toward those it views as critics,
I believe that Mr. Teganya is in grave danger of serious harm without state protection in
Rwanda. Although Rwanda has officially repealed the death penalty, as a recent Human
Rights Watch report indicates, summary executions remain widespread, and people
continue to disappear. Lf forced to return to Rwanda, it is very likely that Mr. Teganya
would face death threats, intimidation, long-term imprisonment or detention, torture and

even death.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information and belief.

Sot tly VU
Timothy-torigman Date

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Curriculum Vita

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Primary Employment:

2009-

1996-2009

1995-1996

1994-1995

Education:

Ph.D.
M.A.
B.A.

Associate Professor of Political Science and International Relations, Boston
University. Director, Center for Religion and World Affairs (CURA) (2017-)
Director, African Studies Center (2009-2017), Chair, Council of Directors,
Frederick S. Pardee School of Global Studies (2014-2016)

Associate Professor of Political Science and Africana Studies, Vassar College,
Poughkeepsie, NY. Assistant Professor 1996-2003, Chair, Department of Political
Science (2008-2009), Interim Director, Africana Studies Program (2003-2004).
Director, Rwanda Field Office, Human Rights Watch and the International
Federation of Human Rights (?IDH), Butare, Rwanda.

Visiting Assistant Professor, Department of Political Science, Drake University,
Des Moines, JA.

Political Science, University of Wisconsin-Madison. 1995.

Political Science, University of Wisconsin-Madison, 1991.

Political Science and Religion, Phillips University, Enid, Oklahoma, 1986.
Graduated Summa Cum Laude.

Academic Interests:

Comparative politics of Africa; state-society relations, focusing in particular on religion and
politics, human rights, transitional justice, and the politics of race, ethnicity, and gender;
Rwanda, Burundi, the Democratic Republic of Congo, Kenya, Tanzania, and South Africa.

Publications: Beoks

2017

2010

Memory and Justice in Post-Genocide Rwanda, New York: Cambridge University
Press.

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Reviewed in Perspectives on Politics, Human Rights Quarterly, Holocaust and
Genocide Studies, Africa, African Studies Review, African Studies Quarterly,
Journal of Modern African Studies, Journal of African History, Canadian Journal

‘of African Studies, International Journal of African Historical Studies, Journal of

Church and State, International Bulletin of Missionary Research, The Review of
Faith and International Affairs, Social Sciences and Missions, Exchange

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2002 “The Complex Reasons for Rwanda’s Engagement in Congo,” in The Continental
Stakes in the Congo War, in John F. Clark, ed., New York: Palgrave, pp. 129-144,

2001 “Church Politics and the Genocide in Rwanda,” Journal of Religion in Africa, v.
31:2, pp. 163-186.

2001 “Documentation and Individual Identity in Africa: Identity Cards and Ethnic Self-

Perception in Rwanda," in Jane Caplan and John Torpey, eds., Documenting
Individual Identity: The Development of State Practices in the Modern World,
Princeton: Princeton University Press, pp. 345-357.

2001 “Christian Churches and Genocide in Rwanda,” in Jn the Name of God: Religion
and Genocide in the Twentieth Century, Omer Bartov and Phyllis Mack, eds., New
York: Berghahn Books, pp. 139-160.

1998 “Civil Society and the Rwandan Genocide,” in State, Conflict, and Democracy in
Africa, Richard Joseph, ed., Boulder: Lynne Rienner, November, pp. 339-358.
1998 “Empowering the Weak and Protecting the Powerful: The Contradictory Nature of

Christian Churches in Rwanda, Burundi, and Congo,” African Studies Review,
Spring, pp. 49-72. ‘

1997 “Rwanda: Chaos from Above,” in Critical Juncture: The African State in
Transition Leonardo Villalon and Phil Huxtable, eds., Boulder: Lynne Rienner, pp.
75-91,

1996 "Democracy and Disorder: Violence and Political Reform in Rwanda," Political

Reform in Francophone Africa, David Gardinier and John Clark, eds., Boulder:
Westview Press, pp. 287-306.

1995 "Christianity and Democratization in Rwanda: Assessing Church Responses to
Political Crisis in the 1990s," in The Christian Churches and Africa's
Democratisation, Paul Gifford, ed., Leiden: E.J. Brill, pp. 188-204.

Publications: Non-Peer Reviewed Articles and Book Chapters
2014 “The Uses and Abuses of Media: Rwanda Before and After the Genocide,” in Clara

Ramirez-Barat, ed., Transitional Justice, Culture, and Society: Beyond Outreach,
New York: Social Science Research Council, pp. 247-278.

2012 “After Genocide, Stifled Dissent,” Op Ed, New York Times, June 29.

2010 “Trying Times for Rwanda: Reevaluating Gacaca Trials in Post-Genocide
Reconciliation,” Harvard International Review, Summer.

2010 With Natalie Zahringer, “Explaining State Responses to Human Rights,” in James

P, Muldoon Jr., JoAnn F. Aviel, Richard Reitano, and Earl Sullivan, eds., The New

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Dynamics of Multilateralism: The Practical Dimension of Diplomacy,
International Organizations, and Global Governance, Boulder: Westview, pp. 129-

149.
2009 “An Assessment of Rwanda’s Gacaca Courts,” Peace Review, fall.
2004 - “The Domestic Impact of the International Criminal Tribunal for Rwanda,” in

Steven R. Ratner and James L. Bischoff, eds., International War Crimes Trials:
Making a Difference?, Austin: University of Texas Law School.

2001 “Congo: A Tale of Two Churches — Ethnic bias creates major problems for the
church,” America, April 2, v. 184:11, pp. 12-15.
1999 "Nation, Race, or Class? Defining the Hutu and Tutsi of East Africa," in The

Global Color Line: Racial and Ethnic Inequality and Struggle from a Global
Perspective, Joseph Feagin and Pinar Batur-Vanderlippe, eds., JAI Press, pp. 103-

130.

1996 “Ruandas Kirchen und der Vélkermord: Verhangnisvolle Nahe zur Macht," der
iiberblich, March, pp. 18-21.

1995 "Genocide and Socio-Political Change: Massacres in Two Rwandan Villages,"
Issue: A Journal of Opinion, Summer, pp- 18-21.

1995 “Democratization and Civil Society: The Case of Rwanda," in Richard Joseph, ed.,
Democracy in Africa, Atlanta: The Carter Center.

1991 "Change and Continuity: The Process of Democratization in Zaire," in

Democratization and Structural Adjustment in Africa in the 1990s, Lual Deng,
Markus Kostner, and Crawford Young, eds., African Studies Program, the
University of Wisconsin-Madison.

Published Reports

2012 “Rwanda,” Freedom in the World, New York: Freedom House, January.

2011 “Rwanda,” Countries at the Crossroads 2011, New York: Freedom House.

2011 “Rwanda,” Freedom in the World, New York: Freedom House, January.

2010 “Rwanda,” Freedom in the World, New York: Freedom House, January.

2000 “Bastern Congo Ravaged," New York: Human Rights Watch, May (published in
English and French).

1999 Leave None to Tell the Story: Genocide in Rwanda, New York: Human Rights

Watch; Paris: Fédération International des Ligues des Droits de "Homme,
Researcher and contributing author, Alison Des Forges primary author, April 1999,
The book has been recognized as the “definitive account of the genocide” (The
Guardian UK) and was awarded the Raphael Lemkin Prize in 2000 for the best

scholarly book on human rights, genocide, or mass violence.

1998 Proxy Targets: War Against the Civilian Population of Burundi New York:
Human Rights Watch, April 1998 (published in English and French).

1997 "Burundi," chapter for World Report / 998, New York: Human Rights Watch,
December, pp. 25-30. ,

1997 Contributing author to “Zaire: T ransition, War and Human Rights," New York:
Human Rights Watch/Africa, Apuil. Suliman Baldo, primary author.

1997 With Alison Des Forges, "Attacked by All Sides: Civilians and the War in Eastern
Zaire," New York: Human Rights Watch, Paris: FIDH, March.

1996 "Zaire," chapter for World Report 1997, New York: Human Rights Watch,

December, pp. 60-66.

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1996

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"Forced to Flee: Violence Against Tutsi in Zaire," New York: Human Rights
Watch; Paris: FIDH, July (published in English and French).

Unpublished Reports

2016

2012

2.008

2007

2005

2002

With Gina Lambright, Suzie Nansozi, and Irene Ikomu, “Democracy, Human
Rights, and Governance Assessment of Uganda, Washington: Tetratec for USAID.
With Pierre Englebert, Agathe Tshimpanga, Anselme Meya Ngemba, Jeremy
Meadows, and Kirby Reiling, “Democracy, Human Rights, and Governance
Assessment of the Democracy Republic of the Congo,” Washington: Tetratec for
USAID.

With Robert Groelsema, Mark Billera, Nils Mueller, Zeric Smith, and Emmanuel
Mabaya, “Democratic Republic of Congo Democracy and Governance Assessment,”
Washington: Democracy International for USAID.

With Roger Yochelson, Julie Werbel, and Christophe Sebudandi, “Burundi
Democracy and Governance Assessment,” Washington: Democracy International for
USAID.

“valuation of Internews Newsreel Project,” International Center for Transitional
Justice, New York, April.

Zeric Kay Smith, Timothy Longman, and Jean-Paul Kimonyo, “Rwanda Democracy
and Governance Assessment,” Washington: MSI for USAID, November 2002.

Reference Works

2014
2010
2009
2006
2006
2005
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1997

“Rwanda,” in Worldmark Encylopedia of Religious Practices, 2" Bdition, Thomas
Riggs, ed., Gale Cenage.

“Rwanda” in Encyclopedia of Global Religion, Mark Juergensmeyer and Wade
Clark Roof, eds., New York: MacMillan.

“Rwanda” in World Book Encyclopedia, New York: World Book Inc.

“Congo” in Encyclopedia of Polities and Religion, Robert Wutmow, ed., CQ Press.
“Rwanda” in Encyclopedia of Politics and Religion, Robert Wuttnow, ed., CQ Press.
“Rwanda,” in Dinah L. Shelton, et al,, eds., Encyclopedia on Genocide and Crimes
Against Humanity, Macmillan Reference.

“Racism,” in Dinah L. Shelton, et al., eds., Encyclopedia on Genocide and Crimes
Against Humanity, Macmillan Reference, 2005.

"Rwanda," in Encyclopedia of World Cultures Supplement, Melvin Ember and Carol
R. Ember, eds., Macmillan, 2003.

“Kigali,” in Encyclopedia of Urban Cultures, Grollier Educational Publications,
2002, pp. 480-484.

“Rwanda,” in Countries and Their Cultures, Melvin Ember and Carol R. Ember,
eds., Macmillan, 2001, pp. 1872-1883.

"Democratic Republic of the Congo," in World Encyclopedia of Political Parties
and Systems, Deborah Kapple, ed., February 1999,

"Burundi Civil Wars," in The Encyclopedia of Political Revolutions, Jack Goldstone,
ed., Washington: Congressional Quarterly Books, September 1998

"Burundi: Pierre Buyoya," Current Leaders of Nations, David C. Kurkowski, ed.,
North Wales, PA: Current Leaders Publishing Company, 1997

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1995 "Burundi: Sylvestre Ntibantunganya," Current Leaders of. Nations, David C.
Kurkowski, ed., North Wales, PA: Current Leaders Publishing Company, 1995.
1994 "Rwanda: Faustin Bizimungn," Current Leaders of Nations, David C. Kurkowski,

ed., North Wales, PA: Current Leaders Publishing Company, 1994.

Book Reviews .«

2016 Book review of J.J. Carney, Rwanda Before the Genocide: Catholic Politics and
Ethnic Discourse in the Late Colonial Era, Oxford: Oxford University Press, 2014,
in African Studies Review, spring.

2016 Roundtable contribution on Severine Autesserre, Peaceland: Conflict Resolution and
the Everyday Politics of International Intervention, Cambridge University Press,
2015, in J-Diplo/International Security Studies Forum, September.

2007 Book review of Neal G. Jesse and Kristen P. Williams, Jdentity and Institutions:
Conflict Reduction in Divided Societies, Albany: State University of New York
Press, 2005, and James L. Gibson, Overcoming Apartheid: Can Truth Reconcile a
Divided Nation? New York: Russell Sage Foundation, 2004, in Political
Psychology, fall.

2007 Scott Straus and Robert Lyons, /vfimate Enemy: Images and Voices of the Rwandan
Genocide, New York: Zone Books, 2006, and Louise Mushikiwabo and Jack
Kramer, Rwanda Means the Universe: A Native’s Memoir of Blood and Bloodlines,
New York: St. Martin’s Press, 2006, in African Studies Review, spring.

2003 Book review of Bill Berkeley, The Graves are not yet Full: Race, Tribe, and Power
_ in the Heart of Africa in Journal of Holocaust and Genocide Studies, winter.
2002 Book review of Filip Reyntjens, La Guerre des Grands Lacs, Guy Castonguay, Les

casques bleus au Rwanda, and Georges Poulain, La chasse a l'homme au Burundi in
The International Journal of African Historical Studies, pp. 492-4.

2001 Book review of Peter Uvin, Aiding Violence: The Development Enterprise in
Rwanda, in Human Rights Review, April-June, v. 2:3.

2001 Book review of Howard Adelman and Astri Suhrke, eds., The Path af Genocide. the
Rwanda Crisis from Uganda to Zaire in Journal of Politics, May, v. 63:2.

2001 Book review of Gerard Pruniex, The Rwanda Crisis, in The Journal of Asian and
African Studies.

1996 Book review of Learthen Dorsey, Historical Dictionary of Rwanda in Journal of

African History, v. 37, no. 3, October.

Conference Paper Presentations:

2016 “VY gy Create What You Are Afraid Of": Assessing Transitional Justice in Post-
Genocide Rwanda,” African Studies Association Annual Conference, Washington,
December 2.

2016 “Explaining Differences in Chnurch-State Relations in East Africa,” Society for the
Scientific Study of Religion Annual Conference, Atlanta, October 28.

2016 “Memory and Impunity in Rwanda and Burundi,” African Studies Association of the
United Kingdom Biannual Meeting, Cambridge, UK, September 8.

2015 “Lessons and Limitations from Comparing Genocides,” Comparative Genocide
Symposium, Institute for Humanities Research, Arizona State University, October

23.

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2014 “Religion and Violence: Between the Local and the Global in Zanzibar and the
Democratic Republic of Congo,” African Studies Association Annual Conference,

Indianapolis, November 22.

2014 “Explaining Church Social Engagement in East Africa,” Conference on Religion and
Social Engagement in Africa, Stellenbosch University, South Africa, August 4-8.

2014 “Church-State Conflict and Cooperation in East Africa,” Conference on Religion
and National Politics in Sub-Saharan Africa, Vanderbilt University, April 11-12.

2013 “Explaining Church-State Conflict and Cooperation in East Africa,” American
Political Science Association, Chicago, August 28.

2012 “Using Fiction in Teaching African Politics,” African Studies Association Annual
Meeting, Philadelphia, PA, Thursday, November 29.

2012 “Human Rights, Activism, and Academics: Complementary or Contradictory,” for
50 Forward: 50 Years of African Studies at the University of Wisconsin, Madison,
April 21.

2011 “Post-Conflict Politics in Central Africa: Comparing the Democratic Republic of

Congo, Rwanda, and Burundi,” presented at African Studies Association Annual
Meeting, Washington, DC, Friday, November 18.

2010 “Promoting Peace and Promoting War: Christian Churches and Conflict in Africa,”
keynote address for conference on Religion and Conflict in West Africa,
WARA/WARC Peace Initiative, Freetown, Sierra Leone, December 14,

2010 “Did Democratization Cause the Rwandan Genocide?” presented at African Studies
Association Annual Mecting, San Francisco, CA, November 18.
2010 “Christianity and Conflict in the Great Lakes Region,” presented at conference

Religion and Politics in Africa, School of Advanced Intemational Studies, Johns
Hopkins University, Washington, DC, April 2.

2009 “Human Rights in Aftica: Scholarship and Activism,” invited speaker for ASA
Board of Directors-Sponsored Roundtable in honor of Alison Des Forges, African
Studies Association Annual Meeting, New Orleans, LA, November 20.

2009 “Limitations to Political Reform: The Undemocratic Nature of Transition in
Rwanda,” presented at the conference Reconstructing Rwanda: History, Power, and
Human Rights, University of Wisconsin-Madison, May 19.

2009 “Constructing Post-Genocide Identity in Rwanda,” presented at the conference
Healing the Wounds: Speech, Identity, and Reconciliation in Rwanda, Program in
Human Rights and Holocaust Studies, Benjamin Cardozo School of Law, March 30,

2008 “Gacaca and Coilective Guilt: ‘The Political Uses of Transitional Justice in Rwanda,”
to be presented at the African Studies Association Annual Meeting, Chicago,
Saturday, November 15.

2007 “Public Responses to Rwanda and Darfur,” presented at conference on Continuing
Crisis in Darfur, University of Ottawa, November 9-11.
2007 “Christian Churches and Political Power in the Great Lakes Region: Explaining a

Mixed Picture,” paper presented at the conference on Knowledge, Practice, and
Political Agency: The Religious Dimension in Conflict Knowledge, Joan B. Kroc
Institute for International Peace Studies, University of Notre Dame, April 20-21.

2006 “Memory, Justice, and Power in Post-Genocide Rwanda,” paper presented at the
American Political Science Association annual meeting, Philadelphia, September 2.
2005 “Transition and Democracy in Burundi and Rwanda,” paper presented at

Development Policy Review Network Conference on Central Africa, University of
Antwerp, December 1.

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2005 “Civil Society and State Power in Post-Genocide Rwanda,” paper presented at
African Studies Association, Washington, DC, November 17.
2005 “Rwandan Attitudes toward Post-Genocide Judicial Initiatives,” paper presented at

conference on Global Justice, Local Legitimacy, University of Amsterdam Law
School, January 27-29.

2004 “Organizing Chaos: Government Responsibility for Ethnic Violence in Burundi,
Rwanda, and Congo,” Bellarmine Forum, Loyola Marymount University, Los
Angeles, November 10.

2004 "Gacaca as a Transitional Justice Mechanism," presented at conference on
Multifaceted Transitions: The Next Phase, Notre Dame, April 30-May 1.

2004 “Rwandan Conceptions of Justice and Reconciliation,” presented at conference

Reflection and Reconsideration: 10 Years After the Rwandan Genocide,
- Northwestern University Law and Journalism Schools, April 5.

2003 "Attitudes Toward the Criminal Tribunal in Rwanda," presented at Conference on
International War Crimes Trials: Making a Difference? University of Texas Law
School, November 6-7.

2003 Timothy Longman and Théoneste Rutagengwa, "Memory, Identity, and the State in
Rwanda,” paper presented at conference Africa and Violence: Identities, Histories,
and Representations," Emory University, September 10-14.

2002 Phuong Pham, Harvey Weinstein, Timothy Longman, and Alice Karekezi,
"Rwandan Attitudes Toward the International Criminal Tribunal for Rwanda," paper
presented at the American Public Health Association annual meeting, Philadelphia,

November.
2002 "State, Society, and Violence," presented at conference on Responding to Violence,
_ Barnard College, Columbia University, October 25.
2002 Respondent to presentation by Alison Des Forges, conference on “Justice in the

Balance: Military Commissions and International Criminal Tribunals in a Violent
Age," University of California, Berkeley, March 16.

2002 With Alice Karekezi, "Justice Responses to the Rwandan Genocide,” presented at
conference on Post-war, Societies, Identity and Belief at the University of Virginia,
February 29-March 2.

2001 "The International Criminal Tribunal and Reconciliation in Rwanda," presented at
Institute for Contemporary History conference, University of Ohio, Athens,
February.

2000 “Religion and Genocide in Rwanda,” presented at the congress of the International
Association for the History of Religion, Durban, South Africa, August 5-8.

2000 "Misunderstanding Rwanda: Seeking to Explain the Inexplicable," presented at
Conference on Intellectual Pluralism at the University of Wisconsin-Madison, April
14-15.

1999 "Churches and Social Upheaval in Rwanda and Burundi," presented at Conference
on Religion and Social Upheaval in Africa, University of Copenhagen, December 2-
4, :

1999 "Churches and Genocide at the Grassroots in Rwanda," presented at Conference on

Churches and the Conflict in Africa's Great Lakes Region, School of Oriental and
African Studies, University of London, September 21.

1998 "Official Documentation and Individual Identity in Africa: The Case of Rwanda,"
presented at conference on Documenting Individual Identity, University of
California-Irvine, Humanities Research Institute, December 10-12.

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1998 “Racketeering Militaries and the Promise of Stability: Justifying Dictatorship in
- Rwanda and Burundi," presented at conference on "State, Democracy, and Society,"
at Emory University, November 12-14.
1997 "The Political Impact of Sanctions in Burundi," presented at conference on the
Humanitarian Impact of Sanctions, sponsored by Physicians for Social
Responsibility, Madison, Wisconsin, November 14.

1997 "The Organization of Chaos: Authoritarianism and Violence in Rwanda, Burundi,
and Zaire," Third World Studies Association, Hartford, October,
1997 “Protecting the Powerful and Empowering the Weak: The Contradictory Role of

Christian Churches in Rwanda, Burundi, and Zaire." Paper for Colloquium Series,
Program in Agrarian Studies, Yale University, September 25.

1997 "The Christian Churches and Rwanda's Genocide," presented at conference on
Religion and Genocide in the Twentieth Century, the United States Holocaust
Museum, May 10-13, sponsored by Rutgers University Center for Historical
Analysis and the Research Institute of the Holocaust Museum.

1997 "Strong Society, Stronger State: Civil Society and the Genocide in Rwanda,"
presented at conference on African Renewal, Massachusetts Institute of Technology,
Boston, March 6-9.

1996 “Church and State in Rwanda Before and After the Genocide," paper presented at
African Studies Association annual meeting in San Francisco, November 24.

1996 "Christianity and the Construction of Ethnicity in Rwanda,” paper presented at
conference on Christianity in East Afiica, held at University of Wisconsin-Madison,
August 23.

1995 "Christianity and AIDS in the Great Lakes Region of East Africa: Religion and the

Construction of Sexuality," paper presented at the African Studies Association
- annual meeting in Orlando, November.

1995 "Chaos from Above; Understanding the Genocide in Rwanda," paper presented at
conference Critical Juncture: The African State in Transition held at the University
of Kansas, September.

1995 "The Political Uses of Ethnicity and Resistance to Democratic Reform: the Rwanda
Crisis," presented in panel on The Fate of the African State: Disintegration or
Reconfiguration? at International Studies Association Annual Meeting, Chicago,

February.
1994 "Christian Churches and the Rwanda Crisis," presented in Roundtable on the
Rwanda Crisis at African Studies Association Annual Meeting, Toronto, November.
1994 "Federalism as a Means of Ethnic Accommodation: A Cross-Country Analysis," for

Conference on Ethnic Diversity and Public Policy, United Nations Research Institute
for Social Development, New York, August.

"1994 “Democratization and Civil Society: The Case of Rwanda," for conference on
Democracy in Africa, the Carter Center of Emory University, Atlanta, April.
1993 "The Christian Churches and Class Development in Rwanda," presented-at African
Studies Association Annual Meeting, Boston, December.
1993 "Socio-Political Change and the Christian Churches in Rwanda: Christianity and

Democratization in Context," presented at conference on The Christian Churches
and Africa's Democratisation, sponsored by the School of Oriental and African
Studies, London University, and the University of Leeds held at Leeds, September.
1991 "Democratization, Development, and the Poor in Zaire," presented at conference on
Democratization and Structural Adjustment in Africa in the 1990s, sponsored by the

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World Bank and the Africa Studies Program, the University of Wisconsin-Madison,
in Madison, Wisconsin, May.

Selected Invited Lectures:

2016 “Transitional Justice in Africa: Promises and Limitations,” Bradford Morse Annual
Lecture, University of Massachusetts, Lowell, March 31.

2015 “Religion and Violence in Africa,” lecture for Liechtenstein Institute on Self
Determination, Woodrow Wilson School, Princeton University, January 9.

2014 “Post-Genocide Rwanda: Miracle or Mirage?” panel presentation, University of
Vermont, November 6.

2014 “Memory and Justice in Post-Genocide Rwanda,” lecture for Seewanee University,
October 23.

2014 “Christianity and Genocide in Rwanda,” MENSA annual conference, Boston, July 5.

2014 “The Rwandan Genocide 20 Years On,” Northeastern University Law School,
Boston, MA, April 22.

2014 “Christianity and Genocide in Rwanda: 20 Years Later,” lecture for Eastern
Nazarene University, Quincy, MA, April 1.

2012 “Rwanda: Lessons and Legacies,” Keynote Address for New England Colloquy for
Genocide Scholars and Civic Leaders, Keene State University, Keene, NH, July 25.

2012 “Human Rights in Africa,” Keynote lecture for Bridgewater State University Africa
Week, Bridgewater, MA, March 20,

2010 “Challenges for Strengthening Democracy in Rwanda,” talk presented at Achebe
Colloquium on Africa, Brown University, December 3.

2010 “How to Talk About Violence (Without Being Depressing),” keynote lecture for

Teaching About Forum on Pedagogy and Africa, African Studies Program,
Northwestern University, May 14.

2010 “Justice in Post-Genocide Rwanda,” lecture presented at Bates College, April 14.

2010 “Post-Election Violence in Kenya and the Responsibility to Protect,” lecture for
WorldBoston Great Decisions series, Boston Public Library, Boston, April 13.

2010 “Democratic Transitions in Africa,” lecture for secondary school administrators,
Primary Source, Watertown, MA, February 9,

2010 - “Transitional Justice in Africa,” lecture for secondary school teachers, Primary

Source, Watertown, MA, January 27.
2009 “Beneath the Democratic Vencer: Unmasking Authoritarian Rule in Post-Genocide

Rwanda,” lecture given for Committee for African Studies at Harvard University,
November 10.

2009 “Rwanda, Congo, and the Great Lakes Region: A Tribute to Alison Des Forges,"
public lecture at the Human Rights Center, University of California, Berkeley, April
20.

2008 “Rwandan Conceptions of Justice and Reconciliation,” lecture for Political Studies
Forum series, University of the Witwatersrand, Johannesburg, South Africa, August
7.

2008 “Evaluating the Gacaca Courts in Rwanda,” lecture for the Department of Political
Science and the Payson Center for International Development, Tulane University,
March 12.

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“Lessons from Rwanda for Darfur,” lecture for African Studies Institute and
Northwestern University Darfur Action Coalition, Northwestern University,
February 28.

“Violence by Other Means: the Exercise of Power in Rwanda Today,” lecture
given at the United States Institute for Peace, Washington, DC, November 18.
“Lessons from Rwanda for Darfur,” lecture as part of Darfur Action Week lecture
series, Bard College, November 15,

“Fighting for Human Rights in the Aftermath of Genocide,” Distinguished Lecture
in African Studies, Middie Tennessee State University, March 29.

“Life After Death in Rwanda: Secking Justice and Reconciliation after Genocide,”
Lecture given at the Payson Center for International Development, Tulane
University, New Orleans, April 21. -

"Conflicts Over Memory in post-Genocide Rwanda," lecture for African Studies
Program, Columbia University, March 4.

"Theories of Genocide and the Experience of Rwanda," presented for Sawyer
Seminar, Emory University, Atlanta, March 7.

"Human Rights after the Rwandan Genocide," presented in the Stanford-Berkeley
African Studies Lecture Series, October 16.

"Genocide in Rwanda: Was 'Never Again’ an Empty Promise?" lecture given at St.
Mary's College of Maryland, April 16.

"Rwanda Since the Genocide," lecture for African Studies Program, Yale
University, April 8.

Consultancies, Visiting, and Research Appointments:

2012-2013

2007-2008

2007, 2008

2006-2007

2001-2006

2006

2004-2005

2002

2001

Research Consultant and Team Leader, Democracy, Human Rights, and
Governance Assessment of the Democratic Republic of Congo, organized by
Tetratech ARD for the United States Agency for International Development.
Research Consultant and Team Leader, Democracy and Governance Assessment of
the Democratic Republic of Congo, organized by Democracy International and
Tetratech ARD for the United States Agency for International Development.
Visiting Lecturer, International Human Rights Exchange, University of the
Witwatersrand, Johannesburg, South Africa.

Research Consultant, Democracy and Governance Assessment of Burundi,
organized by Democracy International for the United States Agency for
International Development.

Director of Rwanda Research, Visiting Research Fellow, Human Rights Center,
University of California, Berkeley, Directing projects “Communities in Crisis:
Justice, Accountability, and Social Reconstruction in Rwanda and the former
Yugoslavia” and “Education for Reconciliation in Rwanda: Creating a History

_ Curriculum after Genocide.”

Visiting Associate Professor, Department of Political Science, Columbia University
Research Consultant, International Center for Transitional Justice, conducting
assessment of Internews Newsreel Project, Rwanda.

Research Consultant, Democracy and Governance Assessment of Rwanda,
organized by Management Systems Incorporated for the United States Agency for
International Development.

Visiting Lecturer, Department of Political Science, National University of Rwanda

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2000 Research Consultant on Democratic Republic of Congo, Human Rights Watch.
1997 Research Consultant on Burundi, Human Rights Watch.
1992-1993 Visiting Lecturer, Faculté de Théologie Protestante, Butare, Rwanda

Courses Taught:

Boston University: International Human Rights, Transitional Justice in Africa, Religion and
Politics in Africa, Political Systems of Southern Africa, Introduction to
Comparative Politics, Politics and Government of Africa.

Vassar College: African Politics, Human Rights and Politics, African-American Politics,
Multiculturalism in Comparative Perspective, Introduction to Comparative
Politics, Religion and Politics in Africa and the Diaspora, Introduction to Africana
Studies.

University of the Witwatersrand: Soverei gnty and Human Rights, Graduate Seminar on the
African State,

Columbia University: Aftican Politics.

National University of Rwanda: Theory and Practice of Conflict Resolution

Drake University: Politics in Multicultural Societies, African Politics, Religion and Politics,

Introduction to American National Government.
Faculté Protestant de Théologie: Sociology of Religion.

Awards and Honors:

Fulbright-Hayes Seminars Abroad, $160,000 grant from the Department of Education to lead
faculty group on 4-week education program in Senegal, summer 2016.

Foreign Language and Area Studies (FLAS) and National Resource Center (NRC) for Africa,
Tifle VI program, Department of Education. Principle investigator for $1.28 and $1.06
million 4-year grants.

Foreign Language and Area Studies (FLAS) and National Resource Center (NRC) for Africa,
Title Vi program, Department of Education. Principle investigator for $1.08 million and
$1.09 million 4-year grants,

“Education for Reconciliation in Rwanda: Creating a History Curriculum after Genocide,”
2004-2006, United States Institute for Peace, recipient of grant as principle investigator
along with Sarah Freedman and Harvey Weinstein of the Human Rights Center,
University of California, Berkeley. Funding also provided by the John D. and Catherine

- _D. MacAruthur Foundation.

Outstanding Young Alumnus 1997, Phillips University.

General Scholarship Fund, Board of Higher Education, Christian Church (Disciples of Christ),
1993-1994,

Research Travel Grant, Graduate School, University of Wisconsin-Madison, 1991,

Title VI, FLAS, University of illinois, for study of Lingala, summer 1991.

CIC Traveling Scholar Fellowship, University of Hlinois, for study of Lingala, summer 1991],

Ogg and Mills Fellowships, Department of Political Science, University of Wisconsin-Madison,
spring 1989.

Mills Fellowship, Department of Political Science, University of Wisconsin-Madison, 1986-
1987.

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Longman CV - page 13

Representative Phillipian, for the graduating senior who best represents the principles and ideals
of Phillips University, 1986.

Political Science Research Award, for the outstanding research project in political science by a
graduating senior, Phillips University, 1986.

Newbury Fellowship, for outstanding sophomore religion major, Phillips University, 1984.

Presidential Scholar, full tuition fellowship, Phillips University, 1982-1986.

Professional Affiliations

American Political Science Association

African Studies Association — ASA Executive Board, November 2014-present. Advocacy
Committee chair 2016-17, Finance Committee chair 2016-17. Program Committee
section chair for 2014 ASA Annual Meeting.

Languages

English native reading, writing, and speaking ability
French fluent reading and speaking, good writing ability
Kiswahili good speaking ability

Lingala fair speaking ability

Kinyarwanda _ fair speaking ability

Swedish fair speaking and reading ability

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